  Case 2:24-cv-05419-PSG-KS Document 8 Filed 07/01/24 Page 1 of 1 Page ID #:131




                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                                           )      Case No. 2:24-cv-05419-PSG(KSx)
Alina Sokiazian                            )
                          Plaintiff,       )
        vs.                                )           ORDER SETTING
                                           )       SCHEDULING CONFERENCE
                                           )
%0: )LQDQFLDO 6HUYLFHV 1$ //& HW DO       )
                       Defendant(s).       )
                                           )

        This matter is set for a scheduling conference on September 27, 2024 at

  2:00 p.m.       The Conference will be held pursuant to F.R.Civ. P. 16(b).         The

  parties are reminded of their obligations to disclose information and confer on a

  discovery plan not later than 21 days prior to the scheduling conference, and to file a

  joint statement with the Court not later than 14 days after they confer, as required by

  F.R. Civ.P. 26 and the Local Rules of this Court. In their F.R.Civ. P. 26(f) Report,

  the parties shall indicate whether they have agreed to participate in the Court’s

  ADR Program, to private mediation or, upon a showing of good cause, to a

  Magistrate Judge for a settlement conference.      Failure to comply may lead to the

  imposition of sanctions.
  DATED: July 1, 2024
                                                     Philip S. Gutierrez
                                                     United States District Judge
